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               In re National Prescription Opiate Litigation: MDL 2804
PLAINTIFFS’ OPPOSITION TO DEFENDANT WALGREENS’S MOTION FOR SUMMARY JUDGMENT
                      Summary Sheet of Concise Issues Raised

Opposition Name: Plaintiffs’ Opposition to Walgreens’s Motion for Summary Judgment (Dkt.
#1764)
Opposing Parties: Walgreens Co. and Walgreen Eastern Co.
Concise Description of the Issues:

       Issue: Is Walgreens entitled to summary judgment on the basis of causation?
       Answer: No.

       Walgreens’s motion is premised on a straw man causation standard not supported by Ohio

law. As more fully addressed in Plaintiffs’ Opposition to Defendants’ Motions for Summary Judgment

on Causation (PSJ2), Plaintiffs have met their causation burden. Both Plaintiffs’ experts and

Walgreens’s own documents sufficiently support a causal relationship between the Walgreens’s breach

of its legal duties, the excess supply of prescription opioids, and the opioid epidemic now plaguing

Plaintiffs’ community.

       Through 2014, Walgreens funneled millions of doses of prescription opioids into Plaintiffs’

community, including by distributing opioids to its own pharmacies without complying with its legal

duties to maintain effective controls against diversion or to report and halt suspicious orders. After

paying a record $80 million fine for opioid related violations of the Controlled Substances Act (“CSA”)

and related laws and regulations, Walgreens ceased self-distribution of opioids and continued to work

with co-defendants, including related party AmerisourceBergen, to ensure the flow of opioids through

Walgreens pharmacies was not interrupted. The evidence obtained by Plaintiffs in this litigation

demonstrates the causal link between Walgreens’s admitted CSA violations, Walgreens’s excess supply

of opioids, and the resulting opioid epidemic in Plaintiffs’ community and Ohio.



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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION OPIATE MDL No. 2804
LITIGATION
                                   Case No. 17-md-2804
This document relates to:
                                   Hon. Dan Aaron Polster
Track One Cases




            PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
       WALGREENS’S MOTION FOR SUMMARY JUDGMENT (Dkt. # 1764)
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                                               INTRODUCTION

         Walgreens’s individual motion for summary judgment is limited to a single question: whether

Plaintiffs were required to prove actual diversion as to the suspicious orders that Walgreens failed to

properly flag, report, and/or halt in violation of Walgreens’s regulatory duties.1 As addressed in

Plaintiffs’ Consolidated Memorandum in Opposition to the Defendants’ Motions for Summary

Judgment on Causation (“PSJ2-Causation”), this granular level of proof is not required to satisfy the

causation elements of Plaintiffs’ claims, and Plaintiffs have provided evidence sufficient to

demonstrate that Plaintiffs can adequately prove causation as to Plaintiffs’ claims against Walgreens.

         The arguments raised by Walgreens in its individual motion are red herrings: neither

Plaintiffs’ response to Discovery Ruling 12 nor the expert reports of Dr. McCann and Agent

Rafalski were intended to provide evidence of pill-by-pill diversion but, instead, were intended to –

and did provide – evidence of a baseline set of orders that should have been flagged and halted

pending sufficient due diligence.

         As discussed more fully in PSJ2-Causation, Walgreens’s, and other Defendants’, complete

failure to meet their duties as distributors of controlled substances directly caused Plaintiffs’ injuries.

Walgreens admits the “opioid crisis” is caused by “misuse, abuse and addiction” that result from the

“flow of opioids that fuel the epidemic.”2 Walgreens has also admitted that prescription opioid use

has led to increased heroin abuse.3 Plaintiffs’ expert witnesses establish a direct chain of causation

between Walgreens’s conduct and the opioid crisis and increased heroin use that Walgreens admits



1 Walgreens also incorporates by reference, but does not provide further briefing in its individual motion on, arguments
  made in motions filed by the Pharmacy Distributors seeking dismissal based on statutes of limitations (See Pharmacy
  SOL MSJ, Dkt. #. 1703); Causation (See Pharmacy Causation MSJ, Dkt. # 1774); Civil Conspiracy (Pharmacy Civil
  Conspiracy MSJ, Dkt. # 1716); and Preemption (See Pharmacy & Major Distr. Preemption MSJ, Dkt. # 1867).
  Plaintiffs’ responses to those arguments are addressed in Plaintiffs’ responses to those motions and are incorporated
  by reference herein.
2 Exh. 1 - WAGMDL00007388.
3 Exh. 2 - WAGMDL00035669 at WAGMDL00035676 (Walgreens acknowledges the proven link between
  “Prescription Opioids and Heroin”, noting that “[n]early 80% of Americans using Heroin reported misusing opioids
  first” and that “[i]ndividuals who misuse prescription opioid pain pills are forty times more likely to abuse heroin.”).


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exists. Mr. Rafalski and Dr. McCann, who illustrate the startlingly number of suspicious orders that

were shipped without appropriate due diligence, show that Defendants, including Walgreens, did not

have sufficient controls to prevent diversion, thereby predictably leading to a large quantity of

opioids entering the illicit market.4 Professor Gruber establishes a direct, causal relationship between

shipments of prescription opioids by Walgreens and other Defendants and the misuse and mortality

from prescription opioids.5 Professor Cutler sets forth the effect of prescription opioid shipments

on the harms that resulted in costs to the counties.6 Professor McGuire concludes that a public

nuisance has resulted from the shipment of prescription opioid products into the Bellwether

communities.7 The admissible testimony from these witnesses is independently sufficient to meet

Plaintiffs’ causation burden.

           Additionally, evidence obtained by Plaintiffs in this litigation demonstrates the causal link

between Walgreens’s excess supply of opioids to Summit and Cuyahoga counties and the resulting

opioid epidemic, and further reveals the connection between the 2012 regulatory action and findings

against Walgreens and Plaintiffs’ claims in Summit and Cuyahoga Counties.

I.         STATEMENT OF FACTS

           Between 1996 and 2014, Walgreens shipped approximately REDACTED dosage units of

opioids into Summit and Cuyahoga Counties.8 Of those, at least REDACTED dosage units were

shipped in fulfillment of orders that, under the Controlled Substances Act (“CSA”), were

“suspicious” and should never have been shipped.9 Walgreens failed to implement an effective




4 See PSJ2-Causation; See also Plaintiffs’ Opposition to Defendants’ Motions to Exclude the Opinions and Testimony of

     Dr. Craig McCann and James Rafalski (“PD4 – Rafalski/McCann”).
5 Report of Jonathan Gruber, PhD, Dkt. # 2000-6 at 8 ¶16.
6 Report of David Cutler, PhD, Dkt. # 2000-4 at Appendix III.J.
7 Report of Thomas McGuire, PhD, Dkt. # 2000-18 at 7 ¶14.
8 Report of Craig McCann, PhD, CFA, Dkt. # 2000-14 at Appendix 10 at 226 and 856 of 1260.
9 Id. See also McCann Rep. Dkt. # 2000-14; Report of James Rafalski, Dkt. # 2000-22.




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suspicious order monitoring program required to meet its obligations under the CSA.10 Walgreens

made little effort to properly identify suspicious orders, failed to flag orders and report them to the

DEA, failed to halt suspicious orders pending due diligence, and instead focused on keeping the

flow of drugs into Summit and Cuyahoga Counties.

         Walgreens knew that its Suspicious Order Monitoring (“SOM”) system did not comply with

its CSA obligations. In May 2006, the DEA sent Walgreens a Letter of Admonition citing Walgreens

for controlled substances violations at its Perrysburg, Ohio Distribution Center. Specifically, the

DEA informed Walgreens that the “formulation utilized by the firm for reporting suspicious

ordering of controlled substances was insufficient,”11 and “inadequate.” The DEA reminded

Walgreens that its suspicious ordering “formula should be based on (size, pattern, frequency).”12

         After receiving the Letter of Admonishment, Walgreens decided to utilize a “three times”

formula based on Appendix E-3 of the Chemical Handler’s Manual to generate and send the DEA a

monthly report of “Suspicious Control Drug Orders” that Walgreens had filled for its stores. 13

Walgreens sent these post-shipment “Suspicious Control Drug Orders” reports to the DEA from

2007 through 2012. Despite the orders being flagged in the reports for being “suspicious” based on

volume alone, Walgreens did not halt these orders or perform any due diligence on them before

shipment.14 Walgreens did not perform the size, pattern, and frequency analysis prescribed by the

DEA, but merely used this “three times” formula to list the orders on an after the fact report and

then continued shipping.



10 Walgreens’s significant breaches of its duties under the CSA, and much of the evidence developed in support thereof,

   is set out in detail in Plaintiffs’ Memorandum of Law in Support of Motion for Partial Summary Adjudication that
   Defendants Did Not Comply with Their Duties Under the Federal Controlled Substances Act to Report Suspicious
   Opioid Orders and Not Ship Them, Dkt. # 1799 (“FCSA Noncompliance”); Rafalski Rep., Dkt. # 2000-22 at 114–
   187; and Report of Seth Whitelaw, JD, LLM, Dkt. # 2000-26 at 183-208.
11 Exh. 3 - WAGMDL00709510.
12 Exh. 62 -WAGMDL00709508 (DEA Audit Preliminary Response 03-06-06).
13 Exh. 4 - WAGMDL00400357.
14 See Exh. 5 - Errata to Eric Bratton 30(b)(6) Deposition at 5.




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         Walgreens knew that this type of post-shipment “excessive purchase report” did not satisfy

the requirements of 21 C.F.R. § 1301.74(b).15

         In September 2007, three Walgreens’s senior employees attended a conference at which the

DEA reminded registrants that the CSA “requirement is to report suspicious orders, not suspicious

sales after the fact,” and advised the audience not to “confuse suspicious order report with an

excessive purchase report. They are two different things.”16

         In November 2012, Walgreens’s Divisional Vice President of Pharmacy Services reported to

Walgreens’s President of Pharmacy, Health and Wellness, Kermit Crawford, his notes from a

meeting with the DEA regarding reporting of suspicious orders, which included the notation, “If

suspicious - you don't ship.”17

         Despite knowing for approximately 20 years that its SOM policies were inadequate and

violated the law, being admonished by the DEA, and receiving specific instruction that the post-

shipment excessive purchase reports did not satisfy its duties, Walgreens still did not institute a SOM



15 As early as April 27, 1984, the DEA reminded the National Wholesale Druggists’ Association that “an after-the-fact

   computer printout of sales data does not relieve a registrant of its responsibility to report excessive or suspicious
   orders when discovered.” Exh. 6 - US-DEA-00026139 at US-DEA-00026148. On May 16, 1984, the DEA again sent
   the National Wholesale Druggists’ Association the same reminder. Exh. 6 - US-DEA-00026139 at US-DEA-
   00026150.
    In April 1987, manufacturers and wholesalers of controlled substances were again reminded by the DEA that they
   needed to design and operate a system to disclose suspicious orders. Exh. 7 - US-DEA-00025656 at US-DEA-
   00025659. Manufacturers and wholesalers of controlled substances were also reminded that they would bear
   responsibility for reporting a suspicious order and then shipping it. Id.
    On November 4, 1988, Walgreens met with the DEA and was again reminded, “The submission of a monthly
   printout of after-the-fact sales does not relieve the registrant of the responsibility of reporting excessive or suspicious
   orders. These regulations require that a registrant maintain a system to detect excessive ‘orders’ rather than sales of
   controlled substances.” Exh. 8 - US-DEA-00025683.
    On June 21, 1993, the National Wholesale Druggists’ Association reminded registrants that suspicious order
   submissions “of a monthly printout of after-the-fact sales will not relieve a registrant from the responsibility of
   reporting these single excessive or suspicious orders.” Exh. 6 - WAGMDL00400357 at US-DEA-00026146.
    In DEA interviews Walgreens’s Corporate Counsel stated “that DEA had informed Walgreens that this algorithm
   reporting system was outdated and that Walgreens needed to establish their own system for reporting suspicious
   orders.” Exh. 9 – WAGMDL00490963 at WAGMDL00387688.
16 Exh. 10 - Acquired_Actavis_00441354 at 441355; Exh. 11 - CAH_MDL_PRIORPROD_DEA07_01185382 at

   CAH_MDL_PRIORPROD_DEA07_01185404-5 (attended by Dwayne Pinon, Senior Attorney; James Van
   Overbake, Auditor; and Irene Lerin, Audit Manager); Exh. 12 - CAH_MDL_PRIORPROD_DEA12_00011059; Exh.
   13 - HDS_MDL_00002032 at 2040.
17 Exh. 14 - WAGMDL00658246 at WAGMDL00658247.




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program.18 Walgreens admits that the DEA instructed Walgreens to “stop what was considered

suspicious drug shipments to any of our stores.”19 However, Walgreens continued to ship all flagged

orders without due diligence review and continued to send a post-shipment report to the DEA

regarding all orders triggered by the Appendix E-3 Chemical Handler’s test. This remained

Walgreens’s practice until the end of 2012, even as Walgreens slow played its development of a more

robust SOM program.20

        It was not until March 2008, in response to three of Cardinal Health’s Distribution Centers

being shut down by the DEA for suspicious drug ordering violations, that Walgreens “beg[an]

creating” a SOM program, but Walgreens took more than four years to fully implement the

program.21 In December 2008, Walgreens conducted an internal audit of its Perrysburg, OH

Distribution Center. That audit found that significant issues related to Walgreens’s suspicious

controlled drug order processing and reporting system were still open from DEA’s May 2006

inspection, and that these issues existed nationwide at all Walgreens distribution centers.22

        While Walgreens made changes and refinements to its program, at no time during this period

did Walgreens investigate all orders flagged as suspicious before shipping them. The program did

not halt suspicious orders for due diligence evaluation or report the orders as suspicious, but rather

focused on cutting outsized orders to an (adjustable and ever increasing) threshold amount and then




18 Exh. 15 - WAGMDL00757193 (“internal controls that ensure compliance with DEA regulations … pertain[ing] to all

   company DCs … should be addressed to void potential DEA sanctions”, noting that these issues had been pending
   and “un-remediated” since audits in 2005 and 2006, and included “suspicious controlled drug order processing and
   reporting” and “lack of formalized CII controlled substance policies and procedures.”); See also Exh. 9
   WAGMDL00490963 at WAGMDL00709508 (“suspicious ordering report is inadequate”); Exh. 3 -
   WAGMDL00709510 (“formulation utilized by the firm for reporting suspicious ordering of controlled substances was
   insufficient”).
19 Exh. 16 - WAGMDL00660331.
20 See Exh. 17 - WAGMDL00625263 at WAGMCL00625264 and 00625265 (PowerPoint presentation identifying five

   phases to Walgreens’s “Ongoing Controlled Substance Order Review Logic” spanning from 2009 until 2012).
21 Exh. 18 - WAGMDL00659801 at WAGMDL00659818; Exh. 19 - WAGMDL00709395.
22 Exh. 15 - WAGMDL00757193.




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filling them.23 The DEA has clearly stated that cutting orders that exceed a threshold to a lower

volume and then shipping them without review is a violation of a distributor’s duties under the

CSA.24

         Not only did Walgreens’s SOM program not halt or report the orders its SOM program

flagged as suspicious, but there were other loopholes that limited the program’s effectiveness,

including: (1) allowing stores to place orders to an outside vendor; (2) failing to include orders to

outside distributors in its analysis; (3) allowing stores to obtain over-limit opioids from another

Walgreens-owned store when they hit Walgreens’s threshold (“interstoring”)25; (4) permitting stores

to order outside of the SOM limits through a PDQ (“pretty darn quick”) system26, and (5) routinely

granting threshold increases with nominal due diligence. 27

         In April 2012, the DEA served a Subpoena and a Warrant of Inspection on one of

Walgreens’s three Schedule 2 controlled substance distribution centers, the Jupiter, Florida

Distribution Center (“Jupiter DC”), seeking all controlled substance SOPs, communications about

controlled substances, customer due diligence files for 14 Walgreens stores, and all records related to

distribution of controlled substances.28

         After the DEA instituted its regulatory investigation, Walgreens engaged in meetings with

the DEA about Walgreens’s “Controlled Substance Anti-Diversion and Compliance Program” in an

effort to “cooperate and avoid litigation,” and represented to the DEA that it was making “new




23 Exh. 20 - WAGMDL00624527; Exh. 21 - WAGMDL00667936 at WAGMDL00667938 and WAGMDL00667940;

   Exh. 22 - WAGMDL00658227; See also FCSA Noncompliance, Dkt. # 1799; Rafalski Rep., Dkt. # 2000-22 at 114–
   187; and Whitelaw Rep., Dkt. # 2000-26 at 183-208.
24 Exh. 14 - WAGMDL00658246 at WAGMDL00658247.
25 See Natasha Polster Dep. (01/23/2019), Dkt. # 1969-10 at 250:1-253:7 and 257:14-258:2.
26 Exh. 23 - WAGMDL00705321.
27 Exh. 24 - WAGMDL00010887 (showing approval rate for threshold requests at 95%+ for FY 2014 and 2015).
28 Exh. 25 - WAGMDL00777158; Exh. 26 CAH_MDL2804_01431069 at 01431074.




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changes” to “enhance” its SOMS program.29 Internally, Walgreens stated that it only enhanced its

SOMS program “in an effort to convince DEA that the proposed penalty is excessive…”30

         As a result of the DEA investigation, Walgreens formed the Pharmaceutical Integrity (“RX

Integrity”) group in 2012 to purportedly address Walgreens’s SOM noncompliance. However, the

group viewed its real role as protecting the Distribution Centers (“DCs”) and stores from losing

their DEA licenses.31 The effort was only for show. Walgreens never provided RX Integrity with

the necessary resources to perform adequate due diligence on the overwhelming number of orders

identified by Walgreens’s SOM algorithm for Walgreens’s 5,000 plus stores.32 In December 2012,

Walgreens’s “updated” SOM program resulted in 14,000 flagged orders that required due diligence

review.33 At the time these 14,000 orders were flagged, Walgreens’s RX Integrity department

consisted of fewer than 5 people, and at its height, it only had eleven members.34 On January 4,

2013, a Walgreens employee raised concern that the suspicious orders they were able to investigate

were already a week old and most cases were already shipped.35 Instead of sufficiently staffing the

SOM program, Walgreens noted that it had the ability to control its due diligence workload by

simply increasing stores’ ceiling levels, thereby reducing the number of orders that would breach that

ceiling and result in a flag.36

         After reviewing the materials provided by Walgreens in response to the April 2012

subpoenas, and meeting with Walgreens on September 13, 2012, the DEA issued an Order to Show

Cause (OTSC) and Immediate Suspension of Registration (ISO) to Walgreens.37 The basis for the

OTSC and ISO was Walgreens’s extraordinary distribution of opioids and other related regulatory

29 Exh. 18 - WAGMDL00659801 at WAGMDL00659802.
30 Exh. 27 - WAGMDL00659270.
31 See Exh. 29 - WAGMDL00101723; Exh. 30 -WAGMDL00060486.
32 See Polster Dep., Dkt # 1969-10 at 133:10-13.
33 See Exh. 27 - WAGMDL00659270.
34 See Polster Dep., Dkt # 1969-10 at 240:3-15.
35 Exh. 28 - WAGMDL00414048.
36 Id.
37 Exh. 9 - WAGMDL00490963 at WAGMDL00387654.




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violations. The DEA found that Walgreens’s continued operation of the Jupiter DC constituted “an

imminent danger to the public health and safety” and ordered that Jupiter DC’s controlled substance

vault be sealed.38 The DEA further found that Walgreens’s Jupiter DC failed to comply with DEA

regulations that required it to report to the DEA suspicious drug orders that Walgreens received

from its retail pharmacies,39 resulting in at least tens of thousands of violations, particularly

concerning massive volumes of prescription opiates.40 The DEA stated: “Walgreens has failed to

maintain an adequate suspicious order reporting system and as a result, has ignored readily

identifiable orders and ordering patterns that, based on the information available throughout the

Walgreens Corporation, should have been obvious signs of diversion occurring at Respondent’s

customer pharmacies.”41

         Walgreens admits that the SOM systems and procedures at all of its DCs were the same,

including those at the facilities that continued shipping opioids into Summit and Cuyahoga

Counties.42     Accordingly, it is not surprising that, in February 2013, the DEA issued similar

Subpoenas and Warrant of Inspection on the Perrysburg DC in Ohio to those issued to the Jupiter

DC in Florida.43 Walgreens employees made plans in preparation for the Perrysburg DC being

“shut down” by the DEA, like the Jupiter DC.44 Both the Florida and Ohio DCs distributed

prescription opioids into CT1.45



38 See Exh. 9 - WAGMDL00490963 at WAGMDL00387654 (Letter from Michele Leonhart to Walgreen Company,

  Order to Show Cause and Immediate Suspension of Registration (Sept. 13, 2012), [“Jupiter Show Cause Order”]).
39 Id.
40 Id. at WAGMDL00387676;
41 Id. at WAGMDL00387657.
42 Eric Stahmann Dep. (10/16/18), Dkt. # 1971-2 at 94-96 (Suspicious Control Drug Report process used for all DCs

   “nationwide.”); Deborah Bish Dep., Dkt. # 1959-2 at 34-37 (Perrysburg, Ohio DC employees and Woodland, CA DC
   employees were trained on Schedule II distribution policies and procedures by Jupiter DC, which were uniform across
   the distribution centers); Exh. 31 - Tomson George Dep. (01/14/19) at 91-97 (The same SOM related programs
   regarding dispensing were in place in all fifty states, including Florida and Ohio).
43 Exh. 32 - WAGMDL00493697; Exh. 33 - WAGMDL00493694.
44 Exh. 34 -WAGMDL00477975; Exh. 35 -WAGMDL00358471.
45 See Rafalski Rep., Dkt. # 2000-22 at 114 (The Jupiter DC distributed prescription opioids into CT1 from 2002-2007,

   and the Perrysburg, Ohio DC distributed prescription opioids into CT1 from 2003-2013).


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         Within weeks of receiving the six subpoenas and warrant, Walgreens decided to “discontinue

distribution of controlled substances from the Perrysburg facility” in order to “eliminate any

immediate need for further DEA administrative action” regarding the Perrysburg facility.46

         On June 11, 2013, Walgreens entered into a Settlement and Memorandum of Agreement

(“MOA”) with the DEA to resolve outstanding allegations involving the Walgreens DCs and

pending actions concerning six Walgreens retail pharmacies located in Florida. Walgreens agreed to

pay $80 million in civil penalties, the largest settlement in DEA history at that time, to resolve the

DEA’s claims that Walgreens negligently allowed controlled substances, including oxycodone and

other prescription painkillers, to be diverted into the black market.47 In addition to the $80 million

civil penalty, Walgreens agreed to surrender its Jupiter DC’s registration to distribute, and certain

chain pharmacies’ registration to dispense, controlled substances listed in Schedules II – V for two

years from issuance of the Jupiter ISO, ending in 2014. As part of the MOA, Walgreens admitted

that its “suspicious order reporting for distribution to certain pharmacies did not meet the standards

identified by DEA in three letters from DEA's Deputy Assistant Administrator, Office of Diversion

Control, sent to every registered manufacturer and distributor, including Walgreens, on September

27, 2006, February 7, 2007 and December 27, 2007.”48

         The evidence revealed by Walgreens’s production in this litigation shows that the regulatory

issues and red flags which led to the Jupiter DC ISO extended throughout Walgreens’s nationwide

operations, including in Ohio. For example, in 2012, when Anda analyzed Walgreens’s controlled

substances sales by state, it observed: “Although we thought FL/GA stores might be more

“questionable” than other states, the data has actually shows that this is not the case …. On a

46 Exh. 36 - WAGMDL00674280. Due to the shutdown of Walgreens’ Perrysburg DC in Ohio, Kermit Crawford,

   Walgreens’s former President of Pharmacy, Health and Wellness, called upon Cardinal Health for assistance to switch
   distribution of opioids from the Perrysburg DC to Cardinal Health DCs for shipment. See Exh. 37 -
   WAGMDL00705303; Exh. 38 - WAGMDL00682159. Crawford referred to this process as the “lift and shift.” See
   Exh. 37 - WAGMDL00705303.
47 See Exh. 9 - WAGMDL00490963.
48 Id.




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national level, 21% of Rx’s and 24% of pill count are Controlled Substances vs. Non-Controls ….

FL/GA stores are not necessarily “abnormal” …. There are other states that have somewhat

comparable questionable store percentages ….” Also, attached was a chart showing that 192 out of

255 Ohio Stores should be red flagged for the high number of controlled substances, including

oxycodone, being dispensed.49

        This information was not a surprise to Walgreens, which knew that its failure to institute

effective controls against diversion was universal, as noted in its 2008 Internal Audit. Walgreens

further had complete visibility into all opioid prescription data related to its stores, and internally

touted its ability to conduct sophisticated “[d]ata mining… across [its] retail pharmacies to determine

the maximum amount that a pharmacy should be allowed to receive…,” though it failed to

appropriately incorporate this data into its SOM program to prevent the excessive flood of opioids

into Ohio.50

        Not only did both the Perrysburg, Ohio DC fail to employ effective controls against

diversion, just like the Jupiter DC, but the evidence produced in this litigation shows that Walgreens

knew the flood of pills into Florida were being diverted into Ohio. For example, a DEA

presentation in Walgreens’s production specifically ties “Florida Migration” to Ohio, stating that the

“[v]ast majority of ‘patients’ visiting Florida ‘pain clinics’ come from out of state:… [including]

Ohio.”51 Though the 2012 ISO primarily focused on examples of bad conduct in Florida, Walgreens

internal presentations to educate its “Market Leadership” on the 2012 Jupiter, Florida DC ISO state,

“The key to note is that this isn’t just a Florida problem.”52

        Walgreens knew that the DEA was conducting a “crackdown on Florida pharmacies where

the market is notorious for illicit prescription painkillers” and that Walgreens’s own pharmacies

49 Exh. 39 - WAGMDL00774715; Exh. 40 -WAGMDL00774717; Exh. 41 - WAGMDL00774718.
50 Exh. 42 - WAGMDL00757776.
51 Exh. 43 - WAGMDL00289068 at WAGMDL00289153.
52 Exh. 44 - WAGMDL00049752 at WAGMDL00049759 (See speaker notes).




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accounted for 53 of the top 100 retail sellers of oxycodone in Florida.53 Walgreens also knew these

pills being sold into the “epicenter[s] of [the] notorious well-documented epidemic of prescription

drug abuse… were migrating to other states,” and that many “prescriptions [were] not for a

legitimate medical purpose.”54 Walgreens also received presentations highlighting an Ohio drug

ring’s trips to Florida to get pills, and significant volumes of opioid prescriptions from Florida

doctors for Ohio and Kentucky patients being filled in Ohio.55

         Walgreens’s documents admit the link between the volume of opioids shipped to stores and

diversion. When Walgreens created the RX Integrity Department to try to convince the DEA to

lower the fines against Walgreens, Walgreens stated that the purpose of the department was to “play

a greater role in the Opioid Narcotic Epidemic … [by] ensuring safety, compliance, and security of

the ordering and dispensing of controlled substances” including by “investigat[ing] and report[ing]

suspicious orders externally to the DEA … and other agencies” and by “utiliz[ing] the Controlled

Substance Order Monitoring System (CSOM) to manage the amount of controlled

substance[s]…shipped to the stores.”56            A Walgreens VP of Pharmacy Retail Operations and

Planning testified that the purpose of distributors submitting suspicious orders to the DEA “was to

detect diversion, misuse.”57

         Walgreens admits the “opioid crisis” is caused by “misuse, abuse and addiction” that result

from the “flow of opioids that fuel the epidemic.”58 Walgreens’s documents link the “[i]ncreases in

death rates from overdose [as] related to increased availability of opioid prescriptions,” noting that

“[t]hose who receive higher doses of opioids are at greater risk for overdose,” but also acknowledges




53 Exh. 45 - WAGMDL00119539.
54 Stahmann Dep. Dkt. # 1971-2 at 207; see also Exh. 46 – Sean Barnes Dep. (10/22/18) at 127:4-12; 255:7-17.
55 Exh. 47 - WAGMDL00441397 at WAGMDL041412 - 419.
56 Exh. 48 - WAGMDL00303029.
57 Eric Swords Dep. (12/21/18), Dkt. # 1971-8 at 203:18-204:4; 204:20-23.
58 Exh. 1 - WAGMDL00007388.




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that the opioid abuse epidemic “can be prevented and treated.”59 Walgreens admits its role in the

opioid epidemic, stating it has the “ability – and [] critical responsibility – to fight the opioid crisis”

as the “nation’s largest pharmacy chain” in a time when “[a]ddiction to prescription painkillers,

heroin, and other opioids has surged, with opioid overdoses quadrupling in this decade” and “drug

overdose deaths – the majority from prescription and illicit opioids” resulting in “more fatalities

than from motor vehicle crashes and gun homicides combined.”60 Additionally, Walgreens admitted

there was a “troubling trend in the United States” in 2010 when prescription drugs surpassed motor

vehicle fatalities and other drugs and poisons as the leading cause of accidental death.61

         Walgreens’s documents also acknowledge the proven link between “Prescription Opioids

and Heroin”, noting that “[n]early 80% of Americans using Heroin reported misusing opioids first”

and that “[i]ndividuals who misuse prescription opioid pain pills are forty times more likely to abuse

heroin.”62

         Walgreens’s presentations estimate that the opioid epidemic costs “$55.7 billion nationally”

including “$25 billion in healthcare costs” and “5.1 billion in criminal justice costs.”63 Walgreens

further admits that the “[a]verage annual healthcare costs for those that abuse opioids are about 8

times higher than those that do not abuse.”64

         In 2014, Walgreens ceased self-distribution of opioids into CT1;65 however, as further

detailed in Plaintiffs’ Opposition to the Pharmacy Distributors Conspiracy Motion, Walgreens’s

malfeasance did not end there. When it ceased self-distribution, Walgreens entered into an

agreement with AmerisourceBergen under which AmerisourceBergen became Walgreens’s exclusive



59 Exh. 49 - WAGMDL00608995 at WAGMDL00608999.
60 Exh. 1.
61 Exh. 50 - WAGMDL00114602 at WAGMDL00114613.
62 Exh. 2 - WAGMDL00035669 at WAGMDL00035676.
63 Id.
64 Exh. 49 - WAGMDL00608995 at WAGMDL00608999.
65 See, e.g., Exh. 51 - WAGMDL00095936; Exh. 52 - WAGMDL00095937; Rafalski Rep., Dkt. # 2000-2 at 132.




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controlled substance distributor.66 As part of this “partnership”, Walgreens ultimately acquired more

than 26% of AmerisourceBergen stock and is now considered a related party under SEC rules. 67

Since joining forces with Defendant AmerisourceBergen, Walgreens and AmerisourceBergen have

worked together to ensure continued supply of opioids in Walgreens’s stores and to avoid reporting

to the DEA suspicious orders made by Walgreens pharmacies. For example, during the process of

transitioning Walgreens’s distribution to AmerisourceBergen, one AmerisourceBergen employee

stated: “I’m trying to think of everything we can do to prevent having a bunch of orders reported to

DEA and held.”68 Further, despite DEA guidance that “a suspicious order placed by a customer

pharmacy is made no less suspicious by application of a system designed to reduce or eliminate such

orders prior to shipping”,69 AmerisourceBergen and Walgreens agreed to set up a system with the

“goal” to have Walgreens “police their own orders and block any order to ABC that would exceed

ABC's threshold thus triggering a suspicious order being sent to DEA from ABC.”70 When this

system proved less than fully functional, and orders “outside the expected usage” were made by

Walgreens, AmerisourceBergen and Walgreens set up meetings to address the concern.71 Potential

solutions to the concern were adjusting thresholds or using “soft blocking”.

         Although AmerisourceBergen’s stated policy was to not divulge thresholds72, and contrary to

guidance given to AmerisourceBergen by the DEA,73 AmerisourceBergen provided Walgreens with




66 Exh. 60 - WAGMDL00000417 (Walgreen AmerisourceBergen Pharmaceutical Purchase and Distribution Agreement).
67  2016 AmerisourceBergen Annual Report, p. 72, found at http://investor.amerisourcebergen.com/financial-
   information/sec-filings.
68 Exh. 53 - ABDCMDL00280818.
69 Exh. 9 - WAGMDL00490963 at WAGMDL00387659; see also Masters Pharmaceutical, Inc. v. Drug Enforcement

   Administration, 861 F.3d 206, 217-218 (D.C. Cir. 2017) (“While deleting or editing orders may have limited the amount
   of oxycodone flowing to Masters’ customers, that practice subverted the Reporting Requirement. The law requires
   registered suppliers like Masters to alert DEA when their retail-pharmacy customers attempt to obtain unusual amounts
   of a controlled substance, because such attempts are powerful evidence that the pharmacies are operating illegally.”).
70 Exh. 54 - ABDCMDL00277369.
71 Exh. 55 - ABDCMDL00278991.
72 Exh. 56 - Edward Hazewski Dep. (10/25/18) at 121:22-122:2
73 Exh. 57 - ABDCMDL00285348.




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the threshold limits set in AmerisourceBergen’s order monitoring program. 74 AmerisourceBergen

also provided Walgreens with weekly statistics related to AmerisourceBergen’s order monitoring,

which showed individual Walgreens stores that exceeded the parameters of ABC’s order monitoring

program.75 Generally, AmerisourceBergen would not take action on Walgreens orders that exceeded

AmerisourceBergen’s thresholds without talking to Walgreens.76 Accordingly, Walgreens has

continued to work with the other Defendants to ensure the supply of opioids, including into CT1,

was not disrupted.

II.      DEFENDANTS FAIL TO MEET THEIR BURDEN OF PROVING NO CAUSATIVE LINK

         The moving party has the burden of showing that no genuine dispute exists as to any

material fact. Hickle v. Am. Multi-Cinema, Inc., 927 F.3d 945, 951 (6th Cir. 2019). Summary judgment

must be denied “if a reasonable jury could return a verdict for the nonmoving party[.]” Kolesar v.

Allstate Ins. Co., No. 1:19 CV 35, 2019 WL 2996047, at *2 (N.D. Ohio July 9, 2019) (Polster, J.)

(citing Baynes v. Cleland, 799 F.3d 600, 606 (6th Cir. 2015)). In making this determination, “the court

must view the facts and any inferences reasonably drawn from them in the light most favorable to

the nonmoving party.” Id. (citing same). Courts do not weigh the evidence or otherwise engage in

"jury functions" in deciding a motion for summary judgment; "[i]f there remains any material factual

disagreement as to a particular legal claim, that claim must be submitted to a jury." Hickle, 927 F.3d

at 951 (citing Bobo v. United Parcel Serv., Inc., 665 F.3d 741, 748 (6th Cir. 2012)). As shown herein,

Walgreens has failed to show the absence of genuine disputes of material facts with regard to

causation.

         Both Congress and the DEA have found that the failure to monitor, report, and halt the

shipment of suspicious orders of opioids causes both diversion and the types of harms that Plaintiffs


74 Exh. 58 - ABDCMDL00282490; Exh. 56 - Hazewski Dep. at 123:17-126:19.
75 Exh. 59 - Elizabeth Garcia Dep. (12/14/18) at 280:23-282:1.
76 Id. at 299:19-303:11.




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and their communities have suffered.77 These harms are precisely the injuries that one would expect

Defendants’ misconduct to cause, which in itself creates a triable issue of fact as to causation.78 The

sufficiency of Plaintiffs’ causation showing is bolstered by their experts’ testimony.79 Further,

Plaintiffs properly rely on circumstantial evidence (such as timing), 80 Defendants’ admissions,81 and

aggregate proof models to create a triable issue as causation.82

III.     PLAINTIFFS’ DISCOVERY RESPONSES AND EXPERT TESTIMONY SUPPORT THE
         CAUSATION ELEMENTS OF PLAINTIFFS’ CLAIMS

         A.        Plaintiffs’ Responses to Discovery Ruling No. 12 Comply with the Court’s
                   Order and Support Plaintiffs’ Claims Against Walgreens

         Walgreens misrepresents the requirements of Discovery Ruling 12 (“DR-12”), with which

Plaintiffs fully complied. DR-12 required Plaintiffs to: “identify 10 Suspicious Orders for

Prescription Opioids that you contend were shipped to Your geographic area during the Relevant

Time Period” and to “explain in detail all criteria you used to identify these Suspicious Orders,

including whether and why you contend (i) any due diligence actually conducted was insufficient,

and (ii) the order was so suspicious that there was no amount of due diligence that could have

removed every basis to suspect the customer was engaged in diversion.” See DR-12 (Dkt. # 1174) at

p. 14.

         The Court later amended and clarified DR-12 to specify that, for each defendant, the

Plaintiffs should submit 10 Suspicious Orders for Summit and 10 Suspicious Orders for Cuyahoga



77 See PSJ2 Causation.
78 Empire Title Services, Inc. v. Fifth Third Mortg. Co., 2013 WL 1337629, *9 (N.D. Ohio 2013); See also, Brown v. Wal-Mart

   Stores, Inc., 198 F.3d 244 (6th Cir. 1999) (allowing jury to infer causation where harm incurred was expected
   consequence).
79 See PSJ2 Causation; See also, Hardyman v. Norfolk & W. Ry. Co., 243 F.3d 255, 267 (6th Cir. 2001) (expert testimony can

   establish factual disputes at summary judgment stage by providing provide basis from which causal sequence may be
   inferred).
80 See PSJ2 Causation; See also, Hardyman 243 F.3d 255 at 269;
81 See PSJ2 Causation; See also, In re Meridia Prod. Liab. Litig., 328 F. Supp. 2d 791, 810 (N.D. Ohio 2004), aff’d sub nom.

   Meridia Prod. Liab. Litig. v. Abbott Labs., 447 F.3d 861 (6th Cir. 2006).
82 See PSJ2 Causation. See also, In re Neurontin Mktg. & Sales Practices Litig. (Harden), 712 F.3d 60, 68 (1st Cir. 2013); In re

   Neurontin Mktg. & Sales Practices Litig. (Aetna), 712 F.3d 51, 58 (1st Cir. 2013).


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from a “variety of recipient pharmacies and dates.” See January 18, 2019 email ruling from Special

Master Cohen.

        In compliance with the Amended and Clarified Order, Plaintiffs identified 10 orders from 10

different Walgreens pharmacies in Summit County and 10 orders from 10 different Walgreens

pharmacies in Cuyahoga County. For each order, Plaintiffs identified the reason the orders should

have been flagged as suspicious and specified whether there was an absence of any evidence of due

diligence for the order, or whether, if there was due diligence, the order was so suspicious that no

amount of due diligence could have dispelled the suspicion. See Plaintiffs’ Response to the Amended

and Clarified DR-12 Supplemental Interrogatory Issues to Plaintiffs at p. 5; Exh. A, p. 12; and Exh.

B, p. 11. For each order identified, Plaintiffs stated that no due diligence was evident from

Walgreens’s production. Id. at Exh. A, p. 12; and Exh. B, p. 11. Each order identified by Plaintiffs

was flagged by, inter alia, the “common sense” test endorsed by Masters.         Id.. See also Masters

Pharmaceutical, Inc. v. Drug Enforcement Administration, 861 F.3d 206 (D.D.C. 2017) (holding orders

identified by the test were “unusual,” and not “normal”, and thus could not legally be shipped

without sufficient due diligence).

        Significantly, DR-12 also noted “[F]ederal law begins by placing the obligation to identify

suspicious orders and to conduct due diligence on defendants. So it is defendants who should be

able to produce: (1) a chart of every suspicious order they identified, and whether due diligence

subsequently “cleared” the suspicious order; and (2) the algorithms, policies, methods, and rules

used to determine initially whether an order was suspicious (the SOMS), as well as the actual efforts

undertaken to assess whether a suspicious order was legitimate.” See DR-12 at n.9 (emphasis

original).

        Walgreens’s arguments regarding DR-12 do not support Walgreens’s Motion for Summary

Judgment on Causation.



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         B.        The Analysis Performed by Plaintiffs’ Experts Supports Plaintiffs’ Claims

         As addressed in Plaintiffs’ Opposition to Defendants’ Daubert motion regarding Dr.

McCann, which Plaintiffs incorporate by reference here, Dr. McCann’s report flags transactions

based on various tests for identifying suspicious orders by volume. These tests include the test

endorsed by the court in Masters Pharmaceutical, Inc. v. Drug Enforcement Administration, 861 F.3d 206

(D.D.C. 2017), which the court held identified orders that were “unusual,” and not “normal”, and

thus could not legally be shipped without sufficient due diligence.83 The report also identifies

transactions that would have been flagged by certain other tests based on those which defendants

utilized to flag suspicious orders based on volume alone.84 While Dr. McCann’s report contains

charts and tables which aggregate the total number of transactions that would have been flagged by

the tests, as well as those that would have continued to be flagged unless sufficient due diligence was

performed, the materials submitted in support of Dr. McCann’s report also break out each

individual transaction through which Walgreens distributed opioids into Summit and Cuyahoga

counties and identifies whether each transaction would have been flagged by each one of the

methodologies.85

         Mr. Rafalski, a former DEA agent, opined that there was no evidence that Walgreens

conducted sufficient due diligence on the orders that should have been flagged as suspicious under

the Masters formula, and further opined that those orders should legally never have been shipped to

Cuyahoga County and Summit County.86 Mr. Rafalski’s testimony that continued shipment of

suspicious orders without due diligence supports a conclusion of diversion is based in part on the

DEA Diversion Investigator’s Manual, which states that if a pharmacy places orders of unusual size,



83 See PD4 – Rafalski/McCann.
84 See Rafalski Rep., Dkt. # 2000-22 at 40-41.
85 See Exh. 61, “Walgreen” Spreadsheet, produced as part of Appendix 10 Chain Distributor Transactions with Flag[s]

  dataset on March 25, 2019 in support of Dr. McCann’s Expert Report.
86 See Rafalski Rep., Dkt. # 2000-22 at 474-475.




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the order “should be viewed as suspicious,” and that “activity, over extended periods of time, would

lead a reasonable person to believe that controlled substances possibly are being diverted,” as set out

in the Rafalski Report.87 Contrary to Walgreens’s assertion, Mr. Rafalski’s opinion that Walgreens’s

shipment of suspicious orders without proper due diligence led to diversion is also supported by the

DEA’s 30(b)(6) testimony that (a) once a suspicious order is flagged, all future sales should be

suspended until diversion can be ruled out, (b) shipping a suspicious order without due diligence is a

per se violation of federal law under the CSA, (c) shipping controlled substances in violation of the

CSA is illegal, (d) diversion is foreseeable if registrants fail to comply with federal law; (e) failure to

comply with federal law enables more diversion; (f) diversion is detrimental to public health and

safety; and (g) the more pills unlawfully entering the market results in more diversion.88

         Dr. Egilman’s opinion that Walgreens’s CSA violations related to its Jupiter, Florida DC

extended beyond Florida and impacted Ohio is, in fact, supported by Walgreens’s own documents,

as shown above.89 See Statement of Facts.

         Though not addressed in Walgreens’s Motion, Plaintiffs’ expert David Cutler has

additionally linked excess supply of opioids to diversion and opioid-related deaths. Cutler opines

that Defendants’, including Walgreens’s, failure to control the supply chain and their “deliberate

efforts to evade restriction on opioid distribution” was a contributing factor to the opioid

epidemic.90

         Contrary to Walgreens’s assertions, Plaintiffs’ experts have provided ample support to find

that Walgreens’s breaches of its CSA duties caused the harms claimed here.




87 See Rafalski Rep., Dkt. # 2000-22 at 15 (quoting DEA Diversion Investigator’s Manual).
88 See Thomas Prevoznik Dep. (04/18/19), Dkt. # 1969-13 at 628-629; 632-633; 638-647; 770-771.
89 Plaintiffs further adopt and incorporate in full, here, the arguments set out in Plaintiffs’ Oppositions to the
   Defendants Daubert Motions filed with respect to Dr. McCann and Mr. Rafalski (PD4), Dr. Egilman (PD12), Ms.
   Keller (PD5), and Mr. Whitelaw (PD6).
90 Cutler Rep., Dkt # 2000-4 at 15 ¶ 29.




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                                      CONCLUSION

       For the foregoing reasons and those in Plaintiffs’ Consolidated Memorandum in Opposition

to the Defendants’ Motions for Summary Judgment on Causation Walgreens’s motion for summary

judgment should be denied.

Dated: July 31, 2019                       Respectfully submitted,



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